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         Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03010-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.




State of Colorado, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03715-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.



              GOOGLE LLC’S SUR-REPLY IN FURTHER OPPOSITION
                  TO PLAINTIFFS’ MOTIONS FOR SANCTIONS
             AND RESPONSE TO NOTICE OF PLAY LITIGATION ORDER
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                                         INTRODUCTION

       For all of the reasons explained in its Opposition, Google disputes nearly every aspect of

Plaintiffs’ reply briefs (ECF Nos. 571, 572). But two facets of that briefing, as well as Plaintiffs’

recent submission of an order in the Play litigation (ECF No. 573-1), require an additional brief

response because they raise issues that Google has not had the opportunity to address.

       First, in a striking admission, and in marked contrast to the Play litigation, Plaintiffs here

do not contest that they had knowledge of Google’s approach to chats preservation from the very

outset of discovery. Far from a “red herring,” DOJ Reply at 1, this concession is

dispositive. Plaintiffs’ long-standing knowledge not only renders Plaintiffs’ motions untimely as

a threshold matter, but also belies the fundamental premise of their motions—that chats were such

a likely source of unique relevant evidence that Plaintiffs would have further pursued chats during

discovery had they only known Google’s preservation practice. It further undermines any

argument that Google acted with an intent to subvert the discovery process here; rather, Google

disclosed its approach to chats to these Plaintiffs.

       Second, Plaintiffs’ selective quotation in their reply briefs of a handful of newly-produced

chats from the Play litigation confuses the issues before the Court. The majority of the cited

messages—cherry-picked from the many thousands produced—do not involve document

custodians from this case, let alone any content relating to material issues in this case. If anything,

they confirm how inconsequential chats are to this litigation.

       Third, while Google respectfully disagrees with the court’s order in the Play litigation, the

ruling does not advance Plaintiffs’ motions here because Plaintiffs’ conceded knowledge of

Google’s approach to chats preservation here stands in sharp contrast to the court’s finding of a

lack of knowledge in Play. This confirms that Plaintiffs have not demonstrated actual prejudice




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or intent on the facts here, regardless of the conclusions reached in the Play case based on the

different record there.

                                            ARGUMENT

I.     Plaintiffs’ Concession of Their Long-Standing Knowledge of Google’s Approach to
       Chats Preservation Is Dispositive for Multiple Reasons.

       Plaintiffs’ reply briefs confirm that these parties have been on notice for years of the same

approach to chats preservation that they now contend warrants the extraordinary imposition of

sanctions. This is dispositive of Plaintiffs’ motions for multiple reasons.

       Rather than contesting their knowledge, Plaintiffs now pivot and assert that Google did not

“fully disclose its chat practices.” DOJ Reply at 4 (emphasis added). But that assertion appears to

be based more on a quibble than anything of substance—that Plaintiffs purportedly recently

learned “the fact that if a custodian turned ‘history on’ midway through a conversation, prior chats

in the thread would still be deleted after 24 hours.” Id. at 8-9. Plaintiffs do not contest that they

understood every material aspect of Google’s approach to chats preservation for years. Indeed,

DOJ itself long-ago memorialized that “chats not marked ‘on-the-record’ are not collected and

produced to the Division.” Opp. Ex. 14 at 2. Furthermore, DOJ does not dispute that Google

previously informed it both that off-the-record chats are not retained, Opp. Ex. 10 at ¶ 11a

(Rubinstein Declaration), and that the preservation of chats was not done as an automated back-

end system setting but rather depended on the custodian on legal hold marking the message as on

the record, Opp. Ex. 11 at 1-2. DOJ’s co-Plaintiff Texas was similarly informed years ago that it

is up to the custodian to mark the chat on the record, and that “[i]f the user does not take this action

for every conversation, the unmarked ones will be deleted immediately.” Opp Ex. 7 at 2.1


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 Plaintiffs focus on their recent receipt of Google’s chat retention policy, but do not identify any
material information contained in that policy that was not already within their knowledge.



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       Plaintiffs’ conceded knowledge confirms that their motions are untimely and should be

denied on that basis alone. Plaintiffs assert there is a “lack of a timing requirement for Rule

37(e).” DOJ Reply at 4. But while Rule 37 does not provide a specific deadline for the filing of

sanctions motions, it is well-established that “unreasonable delay may render such a [sanctions]

motion untimely.” Long v. Howard Univ., 561 F. Supp. 2d 85, 91 (D.D.C. 2008); see also Opp.

at 19, 22-24 (collecting cases). None of Plaintiffs’ cited cases hold otherwise. To the contrary,

they specifically recognize that courts do consider timeliness. One of Plaintiffs’ cited cases

explains, for instance, that “there is a particular need for these [sanctions] motions to be filed as

soon as reasonably possible after discovery of the facts that underlie the motion.” Goodman v.

Praxair Servs., Inc., 632 F. Supp. 2d 494, 508 (D. Md. 2009) (cited in DOJ Reply at 4, 5). As a

result, “[c]ourts are justifiably unsympathetic to litigants who, because of inattention, neglect, or

purposeful delay . . . use such a [sanctions] motion to try to reopen or prolong discovery beyond

the time allotted in the pretrial order.” Id.; see also GMS Indus. Supply, Inc. v. G&S Supply, LLC,

2022 WL 853626, at *4 (E.D. Va. Mar. 22, 2022) (explaining that courts “have identified several

‘factors that can be used to assess the timeliness of spoliation motions,’” including whether the

motion was made in a late stage of litigation) (citation omitted) (cited in DOJ Reply at 4); Sec.

Alarm Fin. Enters., L.P. v. Alarm Prot. Tech., LLC, 2016 WL 7115911, at *1 (D. Alaska Dec. 6,

2016) (noting that the court “must answer” if the motion is timely, holding it was where defendant

moved for sanctions one month after plaintiff admitted recordings were erased), (cited in DOJ

Reply at 5).2



2
 Contrary to Plaintiffs’ assertion, DOJ Reply at 5, Google cited multiple cases where courts found
unreasonable delay in denying a Rule 37(e) motion. See, e.g., Larios v. Lunardi, 442 F. Supp. 3d
1299, 1306 (E.D. Cal. Mar. 5, 2020); Equate Media, Inc. v. Suthar, 2022 WL 2101710, at *3 (C.D.
Cal. Feb. 2, 2022); Al-Sabah v. Agbodjogbe, 2019 WL 4447235, at *4-5 (D. Md. Sept. 17,
2019). To the extent Plaintiffs seek to distinguish cases addressing the timeliness of motions


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        It is further meritless to suggest that Google suffered “no prejudice by the timing” of

Plaintiffs’ motions. DOJ Reply at 6. As Google emphasized, Plaintiffs would seek to “turn back

the clock to revisit long-settled discovery” here, Opp. at 3, just as the parties and the Court are

addressing case-dispositive motions and preparing for a potential trial. Moreover, had Plaintiffs

raised the issue at the outset of litigation, the parties could have presented to the Court the issue of

whether Google had an obligation to employ a different preservation methodology at the outset of

the case.

        Plaintiffs’ long-standing knowledge of Google’s methodology for chats preservation is

much more than a procedural matter, however. It refutes the very premise of their motions, that

they would have insisted upon a different chats preservation practice had they only known of

Google’s approach. Plaintiffs’ only response is to claim that they now have additional information

about custodial conduct, but their attack on Google’s policies goes beyond any argument regarding

custodial conduct—they contend that the fact the back-end settings were not changed as part of

the litigation hold process is itself sanctionable.

        Plaintiffs’ admitted knowledge also refutes any suggestion that Google acted with the

“stringent,” bad-faith intent required to establish a violation under Rule 37(e)(2). See, e.g., Borum

v. Brentwood Village, LLC, 332 F.R.D. 38, 48 (D.D.C. 2019); Opp. at 34-39. Google’s approach

to preservation reflected its judgment as to how to address one subset of documents in the context

of a mammoth document collection effort, and it explained that methodology to


arising under other provisions of Rule 37, that is a distinction without a difference on this
point. See, e.g., Long, 561 F. Supp. 2d at 91 (evaluating the timeliness of a Rule 37(c) motion and
citing to decisions on Rule 37(a), (b), and (d) to support the uncontroversial contention that
“unreasonable delay may render such [sanction] motion untimely”). Indeed, under Plaintiffs’
reasoning, their citation to Goodman would be inapplicable, since that court ruled on a spoliation
sanction under its inherent authority “rather than from any sanction prescribed by the Federal Rules
of Civil procedure.” 632 F. Supp. 2d at 506.



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Plaintiffs. Particularly in light of those conceded disclosures, there cannot possibly be a finding

of the “serious and specific sort of culpability” demanded under Rule 37(e)(2) requiring

“intentional, bad-faith misconduct.” Auer v. City of Minot, 896 F.3d 854, 858 (8th Cir. 2018).

       In short, Plaintiffs’ concession in their reply briefing is fatal to their motions for multiple

reasons. It confirms that they should be barred as a procedural matter and it undermines the very

core of their asserted basis for seeking sanctions.

II.    Plaintiffs’ Selective Quotation of Chats from the Play Litigation Does Not Support
       Their Arguments.

       Plaintiffs cite and quote portions of chat messages from a recent production in the Play

litigation, contending that those messages show that “some of the destroyed chats were highly

relevant to the issues in this case.” DOJ Reply at 2-3. Nowhere, however, do Plaintiffs explain

how any of those chats is relevant to the issues in this litigation, and Plaintiffs’ reliance on these

messages ignores that the majority do not even involve custodians in this litigation.

       Unable to dispute the extraordinarily low responsiveness rate of chats collected for this

litigation (approximately one in every thousand), and the fact that no produced chat has been used

in any meaningful way in the case, Opp. at 2, Plaintiffs speculate that “preserved chats were less

relevant than those deleted.” DOJ Reply at 14, n.10. Plaintiffs offer no basis for such

speculation. Plaintiffs do not even attempt to identify material, unique information that they

believe could have been contained in unpreserved chats. They instead speculate that “‘history off’

chats should have been a fruitful source of unguarded, candid conversations among Google

employees that could bear on credibility, motive, bias, as well as a host of substantive issues.” DOJ

Reply at 19. Again, this is pure speculation—Plaintiffs offer not a single shred of evidence that a

chat would somehow provide new unique information about Google’s long-standing contracts with

third parties or the design of its publicly accessible search results page.



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        Of the 16 chat messages cited by Plaintiffs in their reply briefing, only six involve

custodians in these cases as participants.3 And of those six messages, none address any matter of

significance to this litigation.4 Plaintiffs point, for example, to a chat involving Google CEO

Sundar Pichai. That chat message is without relevance to this litigation. Mr. Pichai asks Emily

Singer, a communications and public policy executive who is not a custodian, to send him “the

link” (i.e., a link to a live document) for a “leader’s circle” public talk regarding Google Cloud he

was scheduled to deliver; he then asks her to edit a portion of the document, which was not

produced in this litigation because it is not responsive to any of Plaintiffs’ discovery requests. DOJ

Ex. 57; Co. Ex. B. Plaintiffs seize on Mr. Pichai’s request to “change the setting of this group to

history off,” but there is no indication that the message string has any relevance to this (or any

other) litigation.

        The remaining chats involving custodians from the present litigation (DOJ Exs. 56, 62, 63,

67, and 69) likewise shed no substantive light on issues being litigated here, and Plaintiffs do not

argue otherwise. Nor do they support the claim that any custodian engaged in history-off chats in

an effort to avoid discovery. Plaintiffs point to DOJ Exhibits 56 and 63, but both of those chats

reference caution surrounding what information is transmitted by email—not history-on chats—

on issues involving current litigation, a sensible concern for a host of reasons. Specifically, in

DOJ Ex. 56, the chat participants reference that they are waiting on input from (in-house) counsel

on what they are able to share more broadly, noting that “the DOJ case is making the content very


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  Plaintiffs obfuscate this point in their briefing, highlighting the titles of selected chat participants
but failing to note that they are not custodians in these cases. See, e.g., DOJ Reply at 3 (describing
Ex. 55 as sent by “the head of Platforms & Ecosystems Strategy for Android” but failing to note
that the individual is not a document custodian here).
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  Nor do the messages from individuals who are not custodians in this litigation involve matters of
significance to this litigation.



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sensitive to share via email these days”; and in DOJ Ex. 63, the chat participants discuss setting

up a number of different calls and note that with respect to one call, given that it involves a

“litigation issue” (unrelated to the present cases), it should not be discussed by email and

distribution should be limited “so that you do not get found in discovery” and “called to courts by

mistake.” Nothing in these chats reflects the intentional use of history-off chats to shield otherwise

discoverable material from production in these cases.

       Ultimately, the cited chat messages only underscore just how immaterial chats are to the

issues in this case. And it bears emphasis that any sanctions ruling must be based on the facts and

circumstances of the specific case at hand. Capricorn Mgmt. Sys., Inc. v. Gov't Emps. Ins. Co.,

2019 WL 5694256, at *12 (E.D.N.Y. July 22, 2019), report and recommendation adopted, 2020

WL 1242616 (E.D.N.Y. Mar. 16, 2020) (denying sanctions even though plaintiff’s conduct was

“far from the model preservation of ESI,” because defendants failed to specify how missing

evidence would help in particular case) (cited in DOJ Reply at 16). Indeed, principles of Due

Process bar discovery sanctions that are not specifically calibrated to what is at issue in the

litigation. See Serra Chevrolet, Inc. v. Gen. Motors Corp., 446 F.3d 1137, 1152 (11th Cir. 2006)

(finding that discovery sanction violated Due Process where it was not “specifically related to the

particular ‘claim’ which was at issue” in discovery); Gen. Ins. Co. of Am. v. E. Consol. Utils., Inc.,

126 F.3d 215, 220 (3d Cir. 1997) (explaining that, under Due Process, sanctions must be just and

specifically related to the particular claim at issue in discovery).

III.   The Play Litigation Ruling Underscores the Lack of Prejudice and Is Inapplicable.

       Finally, Google respectfully disagrees with the conclusions reached in the Play litigation

sanctions ruling. Moreover, the decision is based on a different factual record and did not address

any of the cases raised in Google’s Opposition here, including from this District, that this Court




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should consider in connection with this motion. And the Play opinion does not demonstrate that

Plaintiffs here have been prejudiced.

       Unlike here, the Play plaintiffs did not concede long-standing knowledge of Google’s chats

preservation methodology. Indeed, Judge Donato specifically referenced concerns about what he

found to be Google’s failure to “have advised plaintiffs about its preservation approach early in

the litigation.” Op. at 17 (ECF No. 573-1). For the reasons addressed above, this presents a

different factual record from the one before this Court, where Plaintiffs were on notice of exactly

the preservation methodology about which they now complain.

       Further, the Play ruling underscores the lack of prejudice to Plaintiffs here. While the

ruling references a finding of prejudice, it does not articulate how the plaintiffs there actually were

prejudiced, let alone in any material way. See Op. at 18. Stressing “[p]roportionality” as the

“governing concept,” it rejected a terminal sanction out of hand. Id. at 19. And even after the

production of thousands of chats and an evidentiary hearing, the court explained that before

making any final ruling on sanctions “the Court would like to see the state of play of the evidence

at the end of fact discovery. At that time, plaintiffs will be better positioned to tell the Court what

might have been lost in the Chat communications.” Id. Discovery, of course, has long concluded

here—not to mention summary judgment briefing. If ever Plaintiffs can articulate prejudice, they

are “positioned” to do so now. But still Plaintiffs here do not and cannot demonstrate that any

purportedly missing chat would have changed the factual record in these cases or substantively

altered the manner in which Plaintiffs litigated these cases.

                                          CONCLUSION

       For these reasons and those explained in Google’s Opposition, Plaintiffs’ motions should

be denied.




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Dated: April 5, 2023                Respectfully submitted,

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